                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Brugnara Properties VI                                                                          Case No.
                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Brugnara Properties VI in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 May 22, 2017                                                          /s/ David N. Chandler, Jr. for
 Date                                                                  David N. Chandler 60780
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Brugnara Properties VI
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